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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                          December 19, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                 CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                 CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA, and §
OSAMA ABDULLATIF,                   §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                 ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP, and     §
JETALL/CROIX GP, LLC,               §
                                    §
        Defendants.                 §

                                AMENDED ORDER
                       STRIKING WITNESS AND EXHIBIT LIST
                                    Regarding ECF No. 400

        The Witness and Exhibit List filed by Mr. Ali Choudhri on December 18, 20241, although
timely filed, fails to comply General Order 2021-5, paragraph 4. Accordingly, it is therefore
ORDERED: that


1
    ECF No. 400.
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      1. The Witness and Exhibit List filed by Mr. Ali Choudhri on December 18, 20242 is
         STRUCK.

      2. Mr. Choudhri is granted leave to timely file a proper Witness and Exhibit List which
         complies with General Order 2021-5, paragraph 4 no later than 1:00 p.m. Central Standard
         Time Thursday, December 19, 2024 failure of which Mr. Choudhri will not be permitted
         to seek leave to amend the Witness and Exhibit List or use any Witness and Exhibit List at
         any hearing before this Court as it pertains to the pending “Ali Choudhri’s Motion for the
         Recusal/Disqualification of Judge Jeffrey P. Norman.”3

      3. The Court retains exclusive jurisdiction with respect to all matters arising from or related
         to the implementation, interpretation, or enforcement of this Order.


           SIGNED December 19, 2024


                                                         ________________________________
                                                                 Eduardo V. Rodriguez
                                                          Chief United States Bankruptcy Judge




2
    Id.
3
    ECF No. 245.
